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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Misc. No.    20-mc-00011-WJM

   UNITED STATES IMMIGRATION AND CUSTOMS ENFORCEMENT,

          Petitioner,

   v.

   FRAN GOMEZ, Interim Sheriff, City of Denver,

         Respondent.
   ______________________________________________________________________________

               PETITION TO ENFORCE ADMINISTRATIVE SUBPOENAS
   ______________________________________________________________________________

          United States Immigration and Customs Enforcement (ICE) respectfully petitions for an

   order directing Respondent Fran Gomez, the Interim Sheriff for the City of Denver, to comply

   with three administrative subpoenas issued by ICE. The subpoenas, issued under 8 U.S.C.

   § 1225(d)(4), seek documents relevant to immigration-related investigations of three aliens who

   each have previously been convicted in federal court for unlawfully entering the United States

   and who each have recently been charged with state-law criminal offenses. Respondent, though

   counsel, has indicated that Respondent will not comply with the subpoenas.

          As explained below, the subpoenas should be enforced because § 1225(d)(4)(B) provides

   for such an order and because they meet the applicable standards for administrative subpoenas:

   they are issued within the federal agency’s statutory authority, they seek information reasonably

   relevant to an inquiry by ICE, they are not too indefinite, and they are not unduly burdensome. 1


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           ICE intends to file a separate motion under Fed. R. Civ. P. 81(a)(5) for an order setting a
   briefing schedule for Respondent to file a response to this Petition and for ICE to file a reply.
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                                    JURISDICTION AND VENUE

          1.      The Court has subject-matter jurisdiction over this petition under 28 U.S.C.

   §§ 1331, 1345, and 8 U.S.C. § 1225(d)(4)(B), which provides for a subpoena enforcement action

   to be filed in “[a]ny United States district court within the jurisdiction of which investigations or

   inquiries are being conducted by an immigration officer….” The investigations of the three

   aliens at issue are being conducted within this judicial district.

          2.      Venue is proper in this district under 8 U.S.C. § 1225(d)(4)(B) because ICE is

   conducting its investigation within this district, and under 28 U.S.C. § 1391(b)(1) because

   Respondent resides in this district.

                                            BACKGROUND

          3.      The federal government has “broad, undoubted power over the subject of

   immigration and the status of aliens.” Arizona v. United States, 567 U.S. 387, 394 (2012).

          4.      Congress has enacted laws governing the entry, presence, status, and removal of

   aliens within the United States. These laws codify the Executive Branch’s authority to inspect,

   investigate, arrest, detain, and remove aliens in accordance with those provisions. See, e.g.,

   8 U.S.C. §§ 1182, 1225, 1226, 1227, 1228, 1231, 1357.

          5.      ICE is responsible for the investigation, arrest, detention, and removal of aliens

   within the United States. 6 U.S.C. § 251 (transferring to the Secretary of Homeland Security

   functions relating to the inspection, investigation, detention and removal of aliens); Clark v.

   Suarez Martinez, 543 U.S. 371, 374 n.1 (2005) (noting that the powers of investigation and

   detention of aliens formerly provided to the Attorney General were transferred to the Department

   of Homeland Security and its components, including ICE).


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          A.      ICE’s investigations of the aliens at issue

          6.      ICE is investigating three aliens, each of whom was previously ordered removed

   from the United States and was removed, but then illegally reentered the United States without

   being admitted or paroled by an immigration official. See Ex. A (Declaration of David

   Thompson) at ¶¶ 7-42. The three aliens are Olman Ramirez-Ramirez, Cecelio Torres-Ibarra, and

   Juan Miguel Sanchez-Martin. Id.

          7.      Each of these aliens has also previously been convicted in federal court of an

   offense related to unlawful entry into the United States. Ex. A at ¶¶ 10, 21, 32.

          8.      Each of these aliens was recently arrested by the Denver Police Department. Mr.

   Ramirez-Ramirez was arrested in November 2019 for assault and domestic violence and making

   a false report; Mr. Torres-Ibarra in November 2019 for sexual assault; and Mr. Sanchez-Martin

   in December 2019 for vehicular homicide/reckless driving and for hit-and-run/leaving the scene

   of an accident involving death. Id. at ¶¶ 8, 13, 20.

          9.      ICE has access to some information concerning the three aliens through

   nationwide electronic databases, principally the National Criminal Information Center (“NCIC”)

   database. Id. ¶ 6. The NCIC database contains biometric information concerning aliens, such as

   fingerprint records, physical descriptions, nationality, known aliases, and, sometimes, address

   information and criminal history. Id. However, the address information available in NCIC is

   often not up to date, and the criminal history information available is typically in the form of a

   list of arrests, charges, and convictions, that contains little or no factual information concerning

   the underlying crimes. Id.




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           10.    Based on the information presently available concerning the aliens, ICE has

   determined that each of the three aliens may be subject to removal from the United States and

   may be subject to detention by ICE pending their removal. See 8 U.S.C. § 1231(a)(5) (“If the

   Attorney General finds that an alien has reentered the United States illegally after having been

   removed or having departed voluntarily, under an order of removal, the prior order of removal is

   reinstated from its original date and is not subject to being reopened to reviewed, the alien is not

   eligible and may not apply for relief under this chapter, and the alien shall be removed under the

   prior order at any time after the reentry.”); § 1231(a)(2) (providing that the government “shall

   detain” an alien during the removal period).

           11.    The aliens also may be subject to detention by ICE based on their criminal history

   or other factors. See 8 U.S.C. § 1231(a)(6) (providing for detention of certain inadmissible or

   criminal aliens); § 1226(c) (providing that the Attorney General “shall take into custody” aliens

   who have committed certain offenses).

           12.    Finally, the aliens may also be subject to federal criminal prosecution for

   immigration offenses. See 8 U.S.C. § 1326 (establishing criminal penalties for reentering the

   United States after a prior denial of admission, exclusion, deportation, or removal).

           B.     ICE’s requests to Respondent for information about these aliens

           13.    With respect to each of these three aliens, ICE issued a detainer form to the

   Denver Sheriff’s Department requesting to be notified if the alien were released. See Ex. A at ¶¶

   8, 13, 20.

           14.    Two of the aliens at issue were released by the Denver Sheriff’s Department in

   November 2019. Id. ¶¶ 9, 14. As to Mr. Torres-Ibarra, ERO received a fax notification of the


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   release but could not respond to the location prior to the projected release time. Id. at ¶ 15. As to

   Mr. Ramirez-Ramirez, DSD notified ICE at 1:18 p.m. on Saturday, November 30, that Mr.

   Ramirez-Ramirez would be released between 1:20 p.m. and 3:20 p.m. Id. ¶ 14. ICE personnel

   were unable to immediately and safely respond to this notification. Id.

          15.     The whereabouts of Mr. Ramirez-Ramirez and Mr. Torres-Ibarra are not currently

   known. Id. at ¶ 19, 30.

          16.     Mr. Sanchez-Martin remains in the custody of the Denver Sheriff’s Department.

   See Ex. A at ¶ 38. ICE believes that he has been granted the right to release on posting of a

   $500,000 bond, but has not yet posted that bond. Id.

          17.     On January 3, 2020, ICE sent a fax to the Denver Sheriff’s Department seeking

   information about the address and criminal case for each of the aliens. Ex. A at ¶¶ 18, 29, 42.

          18.     ICE did not receive a response to this fax. See id.

          C.      ICE’s subpoenas to Respondent

          19.     In 8 U.S.C. § 1225(d)(4)(A), Congress has authorized immigration officers to

   “require by subpoena . . . the production of books, papers, and documents relating to the

   privilege of any person to enter, reenter, reside in, or pass through the United States or

   concerning any matter which is material and relevant to the enforcement of this chapter and the

   administration of the Service.” The term “this chapter” in the statute broadly refers to Title 8,

   United States Code, Chapter 12 (“Immigration and Nationality”), which encompasses 8 U.S.C.

   §§ 1101–1537, and the “Service” now refers to the U.S. Department of Homeland Security.




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          20.     On January 13, 2020, ICE issued administrative subpoenas directed to

   Respondent concerning each of the three aliens. 2 Ex. A at ¶ 43. Copies of those subpoenas are

   attached as Exhibit B.

          21.     On January 13, 2020, the subpoenas were served on, and accepted by, a captain in

   the Denver Sheriff’s Department (“DSD”) who was the highest ranking official present at the

   Denver Justice Center operated by Respondent. Ex. A at ¶ 43.

          22.     Each subpoena sought two sets of documents. First, each sought “[d]ocuments

   sufficient to establish the following for [the alien]: Home Address, Employment Address,

   Country of Birth, Place of Birth, Age, Identification Documents (i.e. driver license number and

   state, foreign identification card number and country, passport number and country), Bond

   Information to include the obligor name and address, Federal Bureau of Investigation Number,

   Emergency Contact address and phone number, including copies of all identification

   documents.” Ex. B.

          23.     Documents containing this information would assist ICE in several ways. The

   basic identification information sought in the subpoena (such as name, date of birth, nationality,

   and FBI number) will allow ICE to verify that the aliens formerly held in DSD custody are in

   fact the same individuals that ICE is investigating. This corroboration can be obtained only by

   review of the DSD documents. Ex. A at ¶ 46.

          24.     The information concerning each alien’s addresses, as well as the contact

   information for the alien’s bond obligor and emergency contacts, will assist ICE in locating the


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            ICE served a fourth subpoena concerning a fourth alien. That individual has been
   apprehended and is now in federal custody, so ICE is not seeking enforcement of that subpoena
   at this time.
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   aliens and in assessing how best to safely take them into custody. While ICE has access to some

   address information for some of the aliens via the NCIC database, that information is frequently

   not up to date. Obtaining the most up-to-date address and contact information can be critical to

   the safety of ICE officers in apprehending individuals under investigation. Using outdated

   address information also wastes resources. The contact information that the aliens provided to

   DSD upon their arrests are the most up-to-date contact information for these individuals. DSD

   has not provided that recent information, and ICE cannot obtain this information from any other

   source. Id. at ¶ 47.

          25.     Obtaining multiple addresses (such as for both a home address and work address)

   also aids law enforcement in ensuring that the apprehending officers have at least one correct

   address. If they obtain multiple addresses, they can choose an approach in apprehending the

   alien that minimizes the risk of harm. Id. at ¶ 48.

          26.     Contact and location information also aid in an investigation that may lead to

   potential criminal prosecution of an alien. Criminal charges for illegal reentry are subject to a

   statute of limitations, which can mean that a delay in apprehending an alien can interfere with the

   option of criminal prosecution. Possessing the most up-to-date contact information permits CIE

   to apprehend these aliens quickly. Id. at ¶ 49.

          27.     The subpoenas also sought documents concerning identification documents,

   including copies of all identification documents. Aliens apprehended by local law enforcement

   sometimes possess false identification documents, or falsely claim citizenship or provide false

   identities to local law enforcement agencies. Aliens also may provide documents including other

   information that is not reflected in the charge itself and is not reported and accessible in national


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   law enforcement databases. Sometimes possessing false documents is, itself, a crime. DSD may

   have copies of documents that an alien had on his person at the time of arrest. ICE has no other

   source from which to access these documents. Id. at ¶ 50.

           28.     Second, the subpoenas sought, for each alien, “[d]ocuments that show the

   criminal charge relating to [the alien],” and provided identifying information known to ICE

   about the charge, such as the arrest date, the charge, and the booking number. Ex. B.

           29.     While ICE has access through NCIC and other databases to some basic

   information concerning the criminal charge (such as the name of the charged crime, date of

   arrest, and booking number), these sources do not typically contain any factual information

   regarding the underlying conduct that led to the arrest and charge. Ex. A at ¶ 51.

           30.     The documents held by DSD that show the criminal charge, in contrast, may

   contain useful documents such as probable cause statements, arrest reports, and/or additional

   documents that may contain factual information that provides significantly more detail

   concerning the criminal conduct alleged against the alien. Id. at ¶ 52.

           31.     The documents that show the criminal charge also may include information that

   sheds light on where the alien may be found. These documents may include information about

   any bond obligor, who may have knowledge of an alien’s most recent whereabouts. The

   documents also may reflect information gathered by law enforcement about where to locate the

   alien. Id. at ¶ 53.

           32.     The documents containing a state criminal charge also have evidentiary value in

   proving an alien’s criminal history in either administrative or federal court proceedings. Because




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   this evidentiary value is inherent in the actual criminal charging documents themselves, ICE has

   no other source of this evidentiary information than DSD. Id. at ¶ 54.

          33.     Documents containing information relating to the criminal charge assist ICE in

   various ways: in assessing if the alien is removable, in evaluating whether the alien may and

   should be referred for criminal prosecution, and in assessing each alien’s potential level of

   dangerousness to ICE arresting officers and to the public. The information shown in these

   documents also can aid ICE to assess the appropriateness of detention of an alien post-

   apprehension. Id. at ¶ 55.

          34.     Unless DSD provides the criminal charging documents, ICE has no other readily

   available source from which to access these documents. Id. at ¶ 56.

          D.      Respondent’s decision not to comply with the subpoena

          35.     The administrative subpoenas required Respondent to produce the requested

   documents by January 16, 2020 (as to Mr. Sanchez-Martin) and/or January 27, 2020 (as to the

   other two aliens). See Ex. A at ¶ 57; Ex. B.

          36.     On Thursday, January 16, 2020, Ronald Strong, Assistant Field Office Director

   for ICE’s Denver Field Office, was notified by counsel for the Denver Sheriff’s Department that

   Respondent would not comply with the subpoenas.

          37.     In subsequent communications between counsel for ICE and for Respondent

   about Respondent’s decision not to comply with the subpoenas, counsel for Respondent (at the

   Denver City Attorney’s Office) cited to a provision in a local ordinance, Denver Revised

   Municipal Code § 28-250. That provision states that Denver city employees may not expend

   City funds “to assist in the enforcement of federal immigration laws.” Denver Rev. Munic. Code


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   § 28-250(a). This ordinance includes an exception that states that Denver law enforcement may

   cooperate with federal law enforcement regarding immigration “as long as the primary purpose

   of the coordinated action is the enforcement of city, state or federal criminal laws.” Id. § 28-

   250(c).

             38.   Through counsel, ICE represented to the City of Denver that ICE would use the

   information sought via the subpoenas, in part, to determine whether any of the aliens would be

   subject to federal criminal prosecution under 8 U.S.C. § 1326.

             39.   On February 3, 2020, counsel for Respondent confirmed that it will not produce

   the documents sought under the subpoenas. Counsel for Respondent observed that the

   subpoenas are not enforceable without a federal court order. Ex. A at ¶ 58.

             40.   Congress has provided that where the recipient of a subpoena issued under

   8 U.S.C. § 1225(d)(4)(A) fails to comply with the subpoena, the Attorney General or

   immigration officer “may invoke the aid of any court of the United States” to enforce the

   subpoena. 8 U.S.C. § 1225(d)(4)(A).

             41.   Congress has also provided district courts with authority to direct compliance

   with such subpoenas. “Any United States district court within the jurisdiction of which

   investigations or inquiries are being conducted by an immigration officer may, in the event of

   neglect or refusal to respond to a subpoena issued under this paragraph or refusal to testify before

   an immigration officer, issue an order requiring such persons to appear before an immigration

   officer, produce books, papers, and documents if demanded, and testify, and any failure to obey

   such order of the court may be punished by the court as a contempt thereof.” 8 U.S.C.

   § 1225(d)(4)(B).


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                                             ARGUMENT

          The Court should issue an order directing Respondent to comply with the subpoenas.

   First, the subpoenas meet the well-established controlling legal standards that apply to

   administrative subpoenas. Second, to the extent Respondent may seek to resist compliance

   based on a city ordinance, the ordinance is preempted by § 1225(d)(4) to the extent the ordinance

   would present an obstacle to the enforcement of the subpoenas.

   I.     The subpoenas meet the controlling legal standards.

          The Supreme Court has held that an administrative subpoena “is sufficient if the inquiry

   is within the authority of the agency, the demand is not too indefinite and the information sought

   is reasonably relevant.” United States v. Morton Salt Co., 338 U.S. 632, 652 (1950); accord

   McLane v. EEOC, 137 S. Ct. 1159, 1165 (2017) (holding that if the information sought by an

   administrative subpoena is relevant to the agency’s inquiry, “the district court should enforce the

   subpoena” unless the subpoena “is ‘too indefinite,’ has been issued for an ‘illegitimate purpose,’

   or is unduly burdensome”).

          Under those standards: (a) ICE’s issuance of the subpoenas was “within the authority of

   the agency”; (b) the demand in ICE’s subpoenas for documents showing certain information

   about the aliens under investigation was specific and thus “not too indefinite”; and (c) the

   documents sought are “reasonably relevant” to those investigations. Morton Salt, 338 U.S. at

   652.

          A.      ICE had authority to issue the administrative subpoenas.

          The first element of the Morton Salt test is met because issuing the subpoenas was

   “within the authority of the agency.” Morton Salt, 338 U.S. at 652.

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          The Supreme Court has recognized that the administrative subpoena authority of a federal

   agency is broad because the purpose of an administrative subpoena is not adjudicative, but is

   instead a power “to inquire.” United States v. Clarke, 573 U.S. 248, 254 (2014) (explaining that

   the purpose of an IRS summons “is ‘not to accuse,’ much less to adjudicate, but only ‘to

   inquire’”); United States v. Powell, 379 U.S. 48, 57 (1964) (discussing other agencies’

   administrative subpoena powers as a “power of inquisition”) (quoting Morton Salt, 338 U.S. at

   642-43). Administrative agencies possess “powers of original inquiry” that allow them to “take

   steps to inform [themselves] as to whether there is probable violation of the law.” Morton Salt,

   338 U.S. at 642-43.

          ICE’s authority under this provision is not limited to determining the admissibility of

   aliens entering the United States. In § 1225(d)(4)(A), Congress empowered ICE immigration

   officers to issue administrative subpoenas to seek documents that relate to whether an alien may

   reside in the United States, or to aid in the enforcement of the immigration laws as to aliens. In

   the relevant provision, Congress permitted such subpoenas to be issued “relating to the privilege

   of any person to enter, reenter, reside in, or pass through the United States or concerning any

   matter which is material and relevant to the enforcement of this chapter and the administration of

   the service…” 8 U.S.C. § 1225(d)(4)(A). The “chapter” refers to Title 8, Chapter 12, of the

   United States Code, which encompasses, in Subchapter II, the topic of “Immigration,” which in

   turn includes, in Part IV, the immigration statute’s provisions related to “Inspection,

   Apprehension, Examination, Exclusion, and Removal” of aliens. See 8 U.S.C. Chapter 12,

   Subchapter II, Part IV, at §§ 1221-1232.




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          Section 1225(d)(4)(A) provides ICE with authority to demand documents not only

   relating to aliens entering the United States, but on matters “encompass[ing] the full range of

   subjects covered by the [the Immigration and Nationality Act of 1952].” United States v.

   Minker, 350 U.S. 179, 185-86 (1956). In Minker, the Supreme Court considered this provision

   as it appeared in a predecessor statute. It observed that the provision, when originally drafted,

   extended only to “documents touching the right of any alien to enter, reenter, reside in, or pass

   through the United States,” but Congress later added language that “extended the subpoena

   power….” Id. at 184-85. The Court ruled that after this amendment, the scope of this subpoena

   power could not reasonably be viewed as limited to matters relating “to an investigation

   pertaining to questions of admission and deportation” because “[t]he comprehensive addition of

   the clause ‘or concerning any matter which is material and relevant to the enforcement of this

   Act and the administration of the Service’, precludes such narrowing reading.” Id. at 185. The

   Court observed that this subpoena provision did appear “in the immigration title” of the statute,

   but explained that “the title of a statute and the heading of a section cannot limit the plain

   meaning.” Id. 3

          Since Minker, courts have observed that Minker precludes a narrow reading of this

   subpoena power. See United States v. Van, 931 F.2d 384, 387 (6th Cir. 1991) (“Although [this

   subpoena provision] appears in a part of the Immigration Act that describes the powers of INS

   agents on border patrol, the Supreme Court has held that the addition of the clause ‘or


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           The Minker Court went on to address whether this provision gave immigration officers
   authority to question, as “witnesses,” United States citizens facing denaturalization; the Court
   concluded that “considerations of policy” led it to interpret the provision as not providing this
   authority. 350 U.S. at 187-90. That holding does not apply here, as none of the aliens under
   investigation here are United States citizens facing denaturalization.
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   concerning any matter which is material and relevant to the enforcement of the Act’

   encompasses the full range of subjects covered by the statute”) (citing Minker, 350 U.S. at 184-

   85); see also Sherman v. Hamilton, 295 F.2d 516, 522 (1st Cir. 1961) (affirming district court’s

   order enforcing subpoena under predecessor statute).

          Here, ICE is investigating these three aliens who reentered the United States unlawfully

   after removal, and seeks documents showing basic information relating to the identity, location,

   and recent criminal charges as to each alien. These matters fall within the broad scope of inquiry

   authorized by Congress in § 1225(d)(4)(A). ICE is authorized to investigate such matters.

   Aliens who reenter the country unlawfully after removal are subject to civil reinstatement of their

   removal orders, and detention awaiting their removal. 8 U.S.C. § 1231(a)(5) (providing for

   reinstatement of prior removal orders); § 1231(a)(1) providing for detention awaiting removal).

   In addition, “[u]nlawful entry and unlawful reentry into the country are federal offenses.

   §§ 1325, 1326.” Arizona v. United States, 567 U.S. 387 (2012).

          Because ICE is authorized to investigate these aliens, its subpoenas are authorized by §

   1225(d)(4)(A). Cf. United States v. Ragauskas, No. 94-c-2325, 1994 WL 445465, at *2 (N.D.

   Ill. Aug. 12, 1994) (enforcing an administrative subpoena under § 1225 in an investigation of a

   permanent resident alien suspected of collaborating with the Nazis, and concluding that

   “[c]learly, the investigation is authorized by Congress for a legitimate purpose”). Section

   1225(d)(4)(A) does not require ICE to make any other showing. Cf. Okla. Press Pub. Co. v.

   Walling, 327 U.S. 186, 198-99, 208-09 (1946) (where a statute permitted the Department of

   Labor to “investigate such … matters as he may deem appropriate to determine whether any

   person has violated any provision of the Act,” it was “not necessary … that a specific charge or


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   complaint of violation of law be pending or that the order be made pursuant to one. It is enough

   that the investigation be for a lawfully authorized purpose, within the power of Congress to

   command.”). And Respondent has not suggested that the investigations of the three aliens at

   issue fall outside the scope of ICE’s enforcement authority.

          B.      ICE’s demand for documents is not too indefinite.

          The second element of the Morton Salt test is met because ICE’s subpoenas are specific

   and thus not “too indefinite.” Morton Salt, 338 U.S. at 652. The definiteness requirement

   ensures that the records sought can be identified by their description in the subpoena. Cf. Okla.

   Press Pub. Co. v. Walling, 327 U.S. 186, 208 (1946) (explaining that a subpoena may be

   improper if there is “too much indefiniteness or breadth” in the request); cf. Perez v. Alegria,

   No. 15-mc-401-SAC, 2015 WL 4744480, at *3 (D. Kan. Aug. 11, 2015) (explaining that an

   administrative subpoena is sufficiently definite when “[a]ll of the categories of information are

   sufficiently specific to enable” the recipient of the subpoena “to understand what information the

   [agency] seeks.”).

          Each subpoena here is sufficiently definite. Each requests documents that show

   information that is clearly defined. Each subpoena requests two sets of documents. First, each

   subpoena seeks documents sufficient to establish, for the alien at issue, certain basic

   identification and address information. See supra ¶¶ 22, 28; Ex. B. Second, each subpoena

   seeks, for each alien, documents that show the criminal charge relating to the alien. Id.

          These subpoenas are sufficiently specific that they do not burden Respondent by

   requiring Respondent to review a wide array of materials and make complex judgments as to




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   their potential responsiveness. And Respondent has not suggested that the subpoenas are too

   indefinite.

           C.     The information sought is reasonably relevant to the investigations.

           Finally, the third element of the Morton Salt test is met because the documents sought are

   “reasonably relevant” to the ongoing investigations. Morton Salt, 338 U.S. at 652.

           Courts have made clear that the scope of information that may be sought by an

   administrative subpoena is much broader than the subpoena authority available during a judicial

   process. The Supreme Court made this point in Morton Salt, where a corporation challenged the

   authority of the Federal Trade Commission to issue administrative subpoenas. The corporation

   argued that the FTC’s subpoena was too broad because it was “engaged in a mere ‘fishing

   expedition’ to see if it can turn up evidence of guilt.” 338 U.S. at 641. In rejecting this

   argument, the Court criticized prior courts that had rejected administrative subpoenas by

   “engraft[ing] judicial limitations upon the administrative process.” Id. at 642; see also id. (“This

   case illustrates the difference between the judicial function and the [investigative] function the

   [FTC] is attempting to perform.”). The Court in Morton Salt explained that administrative

   subpoenas can properly be based on “official curiosity” about whether a party has complied with

   the law. See id. at 652 (“Even if one were to regard the request for information in this case as

   caused by nothing other than official curiosity, nevertheless law-enforcing agencies have a

   legitimate right to satisfy themselves that corporate behavior is consistent with the law and the

   public interest.”); see also Phillips Petroleum v. Lujan, 951 F.2d 257, 260 (10th Cir. 1991)

   (citing Morton Salt for the proposition that an agency “could compel the production of

   information even if [the] action was a ‘fishing expedition’”) (emphasis added).


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          Accordingly, where an agency has the authority to issue an administrative subpoena to

   investigate a matter, “relevance” is given a broad meaning. The Supreme Court recognized this

   principle in United States v. Arthur Young & Co., 465 U.S. 805 (1984), where it explained that

   where a statute permitted the IRS to “‘examine any books, papers, records or other data which

   may be relevant or material’ to a particular tax inquiry,” the inquiry was “not to be judged by the

   relevance standards used in deciding whether to admit evidence in federal court,” and that the

   IRS “should not be required to establish that the documents it seeks are actually relevant in any

   technical, evidentiary sense.” Id. at 813-14; see also id. at 815 (“Records that illuminate any

   aspect of the return … are therefore highly relevant to legitimate IRS inquiry.”). See also EEOC

   v. Dillon Cos., Inc., 310 F.3d 1271, 1274-75 (10th Cir. 2002) (observing that in the context of

   administrative subpoenas, the relevance requirement “’is not especially constraining’”) (quoting

   EEOC v. Shell Oil Co., 466 U.S. 54, 68 (1984)).

          Here, ICE’s subpoenas meet the requirements for “reasonable relevance” because the

   documents sought relate directly to the aliens under investigation. ICE has reasonably

   determined that these documents are relevant and material to those investigations. As explained

   above and in the accompanying declaration, the documents will aid ICE in identifying the aliens

   (in various ways), confirming their alienage, determining ways the aliens could be contacted or

   located, and ascertaining their recent criminal activity and history. This information will aid in

   determining whether the aliens are removable, in potentially securing their apprehension, in

   evaluating their dangerousness to ensure the safety of law enforcement officers who may seek to

   apprehend them and the safety of the public, and in determining whether the aliens, if




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   apprehended, may be appropriate detention and for criminal prosecution. See generally supra at

   ¶¶ 23-33; Ex. A ¶¶ 45-57.

          In sum, the subpoenas meet all elements of the Morton Salt test. Because the agency had

   authority to issue the subpoenas, and the documents sought are relevant to the agency’s

   investigations, the Court should enforce the subpoenas. Cf. Endicott Johnson Corp. v. Perkins,

   317 U.S. 501, 509 (1943) (holding that a district court had a “duty” to order production of

   evidence sought by the Department of Labor through an administrative subpoena where “[t]he

   evidence sought was not plainly incompetent or irrelevant to any lawful purpose of the agency”).

   II.    Respondent has cited an ordinance as a basis for not complying with the subpoenas,
          but the ordinance does not prevent this Court from enforcing the subpoenas.

          In declining to comply with the subpoenas, counsel for Respondent has pointed, for

   support, to a Denver ordinance. See supra at ¶ 37. To the extent Respondent relies on this

   ordinance as a basis for noncompliance with the subpoenas, the Court should hold that the

   subpoenas are enforceable. If the ordinance would interfere with the enforcement of the

   administrative subpoenas here, it is preempted and without effect, as explained below.

          The Denver ordinance Respondent has cited in not complying with the subpoenas

   purports to prohibit City departments and employees from assisting or cooperating with federal

   investigations relating to the federal immigration laws, except that the ordinance permits City

   law enforcement officials to choose to cooperate with federal law enforcement officials where

   the primary purpose of the enforcement action is enforcement of federal criminal laws.

   Specifically, in Ordinance Number 940-17 § 1, adopted on August 28, 2017, the City adopted

   section 28-250 of the Denver Revised Municipal Code. That Code provides, in pertinent part:



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                  Sec. 28-250. - Use of city funds and resources limited; exceptions.

                  (a) Except as specifically authorized in this article VIII, no department,
                  agency, board, commission, officer, or employee of the city … shall use
                  any city funds or resources to assist in the enforcement of federal
                  immigration laws. The prohibition set forth in this section shall include
                  but not be limited to:
                          (1) Assisting or cooperating in one’s official capacity with any
                          investigation, detention, or arrest procedures relating to alleged
                          violations of the civil provisions of federal immigration laws.

                         ***

                  (c) City law enforcement officers may respond to calls from assistance
                  from federal immigration authorities to the extent necessary to keep the
                  peace, protect public safety, or enforce any applicable state and criminal
                  laws beyond the scope of effectuating an immigration arrest. Nothing in
                  subsection (a) of this section shall preclude city law enforcement officers
                  from participating in coordinated law enforcement actions with federal
                  law enforcement agencies, as long as the primary purpose of the
                  coordinated action is the enforcement of city, state or federal criminal
                  laws.”

   Denver Rev. Munic. Code § 28-250 (attached hereto as Ex. C). But this ordinance provides no

   basis for the Court not to enforce the subpoenas.

          “It has long been settled that state laws that conflict with federal law are without effect.”

   Mutual Pharmaceutical Co. v. Bartlett, 570 U.S. 472, 479-80 (2013). “The Supremacy Clause

   provides that the laws and treaties of the United States ‘shall be the supreme Law of the Land …

   any Thing in the Constitution or Laws of any State to the Contrary Notwithstanding.” Id. at 479

   (quoting U.S. Const., Art. VI, cl. 2). “[U]nder the Supremacy Clause, from which our

   preemption doctrine is derived, any state law, however clearly within a State’s acknowledged

   power, which interferes with or is contrary to federal law, must yield.” Gade v. Nat’l Solid

   Wastes Mgmt. Ass’n, 505 U.S. 88, 108 (1992) (quoted in Bartlett, 570 U.S. at 480). Conflict

   preemption includes “cases where compliance with both federal and state regulations is a

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   physical impossibility.” Arizona v. United States, 567 U.S. 387, 399 (2012). It also includes

   “instances where the challenged state law stands as an obstacle to the accomplishment and

   execution of the full purposes and objectives of Congress.” Id. at 399-400 (internal quotation

   marks and citation omitted).

          Under the principle of conflict preemption, a state statute is without effect to the extent it

   would pose an obstacle to the enforcement of an administrative subpoena. For example, in

   Oregon Prescription Drug Monitoring Program v. U.S. DEA, 860 F.3d 1228 (9th Cir. 2017), the

   Ninth Circuit held that a provision of Oregon state law that required a court order before the

   DEA could obtain data from the state was preempted by a provision of the Controlled Substances

   Act providing the Attorney General with authority to issue administrative subpoenas. Id. at

   1236. The court explained that the state statute was in “positive conflict” with the federal statute

   authorizing administrative subpoenas because the state statute “‘interferes with the methods by

   which the federal statute was designed to reach its goal.’” Id. (quoting Gade, 505 U.S. at 103).

   Accord U.S. Dep’t of Justice v. Utah Dep’t of Commerce, No. 2:16-cv-611-DN-DBP, 2017 WL

   3189868, at *6-7 (D. Utah July 27, 2017) (ruling that this same provision of the Controlled

   Substances Act authorizing administrative subpoenas preempted a Utah statutory provision that

   required a warrant for access to certain state data); U.S. Department of Justice v. Colo. Bd. of

   Pharmacy, No. 10-cv-01116-WYD-MEH, 2010 WL 3547898 (D. Colo. Aug. 13, 2010) (ruling

   that this same provision of the Controlled Substances Act authorizing administrative subpoenas

   preempted a Colorado statutory provision limiting the information the state could disclose),

   report and recommendation adopted by 2010 WL 3547896 (D. Colo. Sept. 10, 2010).




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            Courts have explained that when a federal agency issues an administrative subpoena and

   a state law would prevent the federal agency “from obtaining the records it seeks,” the state law

   “‘stands as an obstacle to the accomplishment and execution of the full purposes and objectives

   of Congress.’” United States v. Zadeh, 820 F.3d 746, 752 (5th Cir. 2016) (quoting Hines v.

   Davidowitz, 312 U.S. 52, 67 (1941)); see also Presley v. United States, 895 F.3d 1284, 1292

   (11th Cir. 2018) (holding that a state constitutional provision was preempted when it conflicted

   with a federal agency’s authority to summon records); Gilbreath v. Guadalupe Hosp. Found.

   Inc., 5 F.3d 785, 791 (5th Cir. 1993) (holding that a state law creating a physician-patient

   privilege cannot block “subpoenas issued under federal statutory authority”). In a different

   context, the Tenth Circuit has found preemption where a state law purported to limit the

   circumstances where federal prosecutors could issue grand jury subpoenas. United States v.

   Supreme Court of N.M., 839 F.3d 888, 928 (10th Cir. 2016).

            Here, Respondent has pointed to the City’s ordinance in resisting ICE’s subpoenas. But

   to the extent this ordinance poses any obstacle to ICE’s ability to collect documents with the

   subpoenas it issued under 8 U.S.C. § 1225(d)(4), the ordinance is without effect. Thus, the

   ordinance does not prevent this Court from directing Respondent to comply with the subpoenas.

                                            RELIEF REQUESTED

            The United States respectfully requests that the Court issue an order, pursuant to 8 U.S.C.

   § 1225(d)(4)(b), that requires Respondent to comply with the three administrative subpoenas at

   issue.




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          Respectfully submitted this 6th day of February, 2020.

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